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 6   Attorney for Tyson Lamar Jones
 7                                     United States District Court
 8                                          District of Nevada
 9   United States of America,                             Case No. 2:12-cr-00363-JCM-GWF
10                  Plaintiff,
11                                                         Stipulation to Continue Revocation of
             v.                                            Supervised Release
12   Tyson Lamar Jones,
                                                           (Third Request)
13                  Defendant.
14
15
             IT IS HEREBY STIPULATED AND AGREED, between the United States of America,
16
     by and through its attorney, Nicholas A. Trutanich, United States Attorney, and Jared L.
17
     Grimmer, Assistant United States Attorney; and Defendant Tyson Lamar Jones, by and through
18
     his counsel, Richard A. Wright, Esquire, of Wright Marsh & Levy, that the Revocation for
19
     Supervised Release hearing currently scheduled for October 21, 2020 at 10:00 am before the
20
     Honorable Judge Mahan, be vacated and set to a date and time convenient to this Court, but no
21
     sooner than December 7, 2020.
22
             The request for a continuance is based upon the following:
23
             1. Mr. Jones is also on supervised release in a second case, United States v. Tyson Lamar
24
     Jones, Case No. 2:17-CR-00079-JAD-NJK, and has a revocation hearing pending in that case
25
     also.
26
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 1           2. Counsel for Mr. Jones is attempting to work out a resolution in both cases while also
 2   working with the government to obtain discovery on the alleged violations.
 3           3. Additionally, Mr. Jones has recently tested positive for COVID-19 and is still in the
 4   coronavirus protocol phase of recovery. He may also have the flu and has also been recently
 5   diagnosed with Rhabdomyolysis and Hepatitis C. Counsel has reviewed Mr. Jones’ medical
 6   records regarding these medical issues and provided same to the government. Given Mr. Jones
 7   positive COVID-19 results, he should remain under quarantine protocols.
 8           4. The parties agree to the requested continuance. Mr. Jones agrees to the requested
 9   continuance.
10           5. Additionally, denial of this request for a continuance could result in the miscarriage
11   of justice.
12           6. Additional time requested by this Stipulation is made in good faith and not for
13   purposes of delay.
14           7. This is the third request for a continuance of the revocation hearing for the current
15   pending petition.
16           Dated this October 14, 2020
17
18    WRIGHT MARSH & LEVY                             NICHOLAS A. TRUTANICH
19                                                    United States Attorney

20
      By: /s/ Richard A. Wright                       /s/ Jared L. Grimmer
21    Richard A. Wright, Esq.                         Jared L. Grimmer
      300 S. Fourth Street, Suite 701                 Assistant U.S. Attorney District of Nevada
22    Las Vegas, Nevada 89101                         501 Las Vegas Boulevard South Suite 1100
23    Attorney for Mr. Jones                          Las Vegas, Nevada 89101
                                                      Counsel for the United States of America
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 1
 2                                     United States District Court
 3                                         District of Nevada
 4   United States of America,                             Case No. 2:12-cr-00363-JCM-GWF

 5                  Plaintiff,
                                                           [PROPOSED] ORDER
 6          v.

 7   Tyson Lamar Jones,

 8                  Defendant.

 9
10          Pursuant to the Stipulation of the Parties, for good cause appearing, and the best interest
11   of justice being served:
12          IT IS HEREBY ORDERED THAT the revocation for supervised release hearing in the
13   above captioned matter currently scheduled for October 21, 2020 at 10:00 am be vacated and
14   continued to December 9,      2020, at 11:00 AM .
15            DATED October 16, 2020.
16
                                                           Honorable James C. Mahan
17
                                                           United States District Judge
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